                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                              No.: 1:24-cv-17-LCB-JLW

 JOHN DOE 1, et al.,

    Plaintiffs,
                                                  DEFENDANTS’ MOTION FOR
    v.
                                                     LEAVE TO CONDUCT
                                                DEPOSITIONS OF PLAINTIFF DOES
 NORTH CAROLINA DEPARTMENT
 OF PUBLIC SAFETY, et al.,

    Defendants.


         Now Come Defendants, by and through the undersigned counsel, and pursuant to Fed.

R. Civ. P. 30(a)(2)(B), and respectfully submit this Motion to Conduct Depositions of John

Doe 1 and John Doe 2 (juveniles within the custody and control of the North Carolina

Department of Public Safety). In support of their Motion for Leave, Defendants state as

follows:

         1.    Pursuant to Fed. R. Civ. P. 30(a)(2)(B), an Order from this Court is required

for Defendants to conduct the depositions of Plaintiff Does, who are in the custody and

control of the North Carolina Department of Public Safety. Plaintiff Does are both housed

at Rockingham Youth Development Center, 424 Elliot Road, Reidsville, NC 27320.

         2.    Rule 30 of the Federal Rules of Civil Procedure requires that a party seeking to

take a deposition obtain leave of court if the requested deponent is confined in prison. See

Fed. R. Civ. P. 30(a)(2)(B). The Federal Rules require that “the court must grant leave to the

extent consistent with Rule 26(b)(1) and (2)....” Therefore, the court must determine whether

(1) the requested discovery is relevant and proportional to the needs of the case, see Fed. R.




     Case 1:24-cv-00017-LCB-JLW          Document 67       Filed 04/07/25    Page 1 of 3
Civ. P. 26(b)(1), and (2) the frequency and extent of the requested discovery is reasonable,

or whether it is unreasonably cumulative or duplicative, could be obtained from some other

source that is more convenient, less burdensome, or less expensive, or the requested

discovery is outside the scope of Rule 26(b)(1). See Fed. R. Civ. P. 26(b)(2).

        3.     Defendants should be granted leave to depose Plaintiff Does because they have

asserted claims against Defendants, and there is no valid basis to deny or limit the depositions.

Under Rule 30(a)(2)(B) of the Federal Rules of Civil Procedure, leave to depose must be

granted unless the requested discovery is inconsistent with the standards set forth in Rule

26(b)(1) and (2). Since the requested depositions are relevant, proportional to the needs of the

case, and not unreasonably cumulative, duplicative, or burdensome, the Court should

authorize the depositions in accordance with Rule 30 and Rule 26. Moreover, Defendants are

seeking leave out of an abundance of caution, since Plaintiff Does are arguably not confined

to a “prison” within the technical meaning of the rule.

        4.     Defendants respectfully request that this Court issue an Order allowing

Defendants to depose Plaintiff Does at their current juvenile facility. Because the Department

of Public Safety is a party to this action, there is no general concern that the depositions will

disrupt the facility’s operations. Counsel for Defendants will coordinate with the appropriate

officials at the affected correctional facility to schedule the depositions in a manner that

minimizes any potential impact.

        WHEREFORE, for the foregoing reasons, Defendants respectfully request this Court

issue an Order allowing Defendants to depose Plaintiff Does pursuant to Fed. R. Civ. P.

30(a)(2)(B), and for all other and further relief as this Court deems just and appropriate.
                                                3



      Case 1:24-cv-00017-LCB-JLW          Document 67       Filed 04/07/25    Page 2 of 3
 Respectfully submitted this the 7th day of April 2025.

                                            JEFF JACKSON
                                            ATTORNEY GENERAL

                                            /s/ Tamika L. Henderson
                                            Tamika L. Henderson
                                            Special Deputy Attorney General
                                            State Bar No. 43167
                                            tlhenderson@ncdoj.gov

                                            Matthew Tulchin
                                            Special Deputy Attorney General
                                            State Bar No. 43921
                                            mtulchin@ncdoj.gov

                                            Laura H. McHenry
                                            Special Deputy Attorney General
                                            State Bar No. 45005
                                            lmchenry@ncdoj.gov

                                            North Carolina Department of Justice
                                            P.O. Box 629
                                            Raleigh, North Carolina 27602
                                            Phone: 919-716-6900
                                            Fax: 919-716-6763
                                            Attorneys for Defendants




                                        3



Case 1:24-cv-00017-LCB-JLW        Document 67       Filed 04/07/25   Page 3 of 3
